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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Case No. 1:21-cv-01381-MEH

ALEXANDRA DAVIS, Individually and
On Behalf of All Others Similarly Situated,

               Plaintiff,

v.

BJ'S RESTAURANTS, INC., and
BJ'S RESTAURANT OPERATIONS COMPANY,

               Defendants.


                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Alexandra Davis and Defendants BJ’s

Restaurants, Inc. and BJ’s Restaurant Operations Company stipulate to the dismissal of the entire

action without prejudice, each party to bear their own costs and attorneys’ fees.

       Respectfully submitted this 12th day of August, 2021.



       [signatures appear on the following page]
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